                                 UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF MISSOURI

                                 CRIMINAL CASE COVER SHEET
 Division of Filing                          Place of Offense              Matter to be Sealed
   Western                  St. Joseph       Jackson                         Secret Indictment
   Central                  Southern         County and                      Juvenile
                                             elsewhere
   Southwestern
Defendant Information
Defendant Name               Jacob Molloy (02)
Alias Name
Birthdate                    08/28/1992

Related Case Information
Superseding Indictment/Information     Yes       No if yes, original case number 23-CR-00272-SRB
New Defendant                           Yes      No
Prior Complaint Case Number, if any
Prior Target Letter Case Number, if any

U.S. Attorney Information
AUSA Joseph M. Marquez

Interpreter Needed
   Yes       Language and/or dialect
  No

Location Status
Arrest Date January 4, 2024
  Currently in Federal Custody
  Currently in State Custody                          Writ Required         Yes     No
  Currently on Bond                                   Warrant Required      Yes     No

U.S.C. Citations
Total # of Counts    5
           Index Key/Code/Offense
  Set                                         Description of Offense Charged            Count(s)
                   Level
         21:841A=CD.F/6801/4              Conspiracy to Distribute                         1
   1
                                          Methamphetamine and Fentanyl
                                          Possession of a Controlled Substance
   2    21:841A=CD.F/6801/4               with the Intent to Distribute,                   3
                                          Methamphetamine and Fentanyl
                                          Possession of Firearms and Drug
   3    18:924C.F/7830/4                                                                   5
                                          Trafficking
                                          Possession of a Controlled Substance             7
   4    21:841A=CD.F/6801/4               with the Intent to Distribute,
                                          Methamphetamine and Fentanyl
   5    18:922G.F/7830/4                  Felon in Possession of a Firearm                 8
  6    21:853.F/6911/4   Criminal Forfeiture Allegation              FA
                         (May be continued on reverse)




Date 06/27/2024             Signature of AUSA /s/Joseph M. Marquez
